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H£DB[“. .m___gg
IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNESSEE §
WESTERN DIVISION 05 we 5 AH 6-1»5

 

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UNITED sTATEs oF AMERICA, _WOF/D TN ME},H-B
vS_ No. 01-20169-Ma

MARLAN MITCHELL,

Defendant.

 

ORDER ON EX PARTE MOTION FOR MENTAL EVALUATION OF DEFENDANT

 

Before the court is the August 8, 2005, ex parte motion
requesting a mental evaluation of the defendant Marlan Mitchell
pursuant to 18 U.S.C. §§ 4241 and 4247. For good cause shown,
the motion is granted and defendant is ordered to undergo a
mental evaluation. The defendant Marlan Mitchell is ordered to
be transported to the Bureau of Prisons Federal Medical Center at
Springfield, Missouri, or such other medical center for federal
prisoners as may be designated by the Bureau of Prisons, to
undergo a complete mental evaluation to determine whether he is
mentally competent to understand the nature and consequences of
the proceedings against him and to assist properly in his own

defense.

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The re»sentencing of the defendant, Which is presently set
on August 25, 2005, is reset to Thursday, October 27, 2005, at

1:30 p.m.

wl

day of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

lt iS SO ORDERED this

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 173 in
case 2:01-CR-20169 Was distributed by faX, mail, or direct printing on

August 30, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

